      Case 23-10939-JDW                       Doc 22       Filed 07/25/23 Entered 07/25/23 14:39:21                            Desc Main
 Fill in this information to identify the case:           Document      Page 1 of 5
 Debtor 1              Candias Boyer
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Northern District     of __________
                                                           of Mississippi
                                                      District

 Case number            23-10939
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   21st Mortgage Corporation
 Name of creditor: _______________________________________                                                        3
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           7 ____
                                                         ____ 0 ____
                                                                  3 ____
                                                                      0              Must be at least 21 days after date       08/15/2023
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              1,125.35
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    242.49
                   Current escrow payment: $ _______________                       New escrow payment:                    39.24
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
    Case 23-10939-JDW                           Doc 22             Filed 07/25/23 Entered 07/25/23 14:39:21                          Desc Main
                                                                  Document      Page 2 of 5

Debtor 1         Candias     Boyer
                 _______________________________________________________                                           23-10939
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ✔ I am the creditor.
     
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/: Austin Florence
     _____________________________________________________________
     Signature
                                                                                               Date     07/25/2023
                                                                                                        ___________________




 Print:             Austin Florence
                    _________________________________________________________                  Title   Bankruptcy   Coordinator
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            21st Mortgage Corporation
                    _________________________________________________________



 Address            PO Box 477
                    _________________________________________________________
                    Number                 Street

                    Knoxville                        TN      37901
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      800-955-0021
                    ________________________                                                            AustinFlorence@21stmortgage.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                                Document      Page 3 of 5


                                 8AM-6PM EST Monday-Friday
                                                                                              487030- 0
                                                                                              07/05/23


         STEPHANIE J SMITH                                                                                           08/15/23
         21317 HWY 5
         MICHIGAN CITY, MS 38647                                                                                       39.24
                                                                                                                         .00
                                                                                                                         .00
                                                                                                  242.49               39.24
                                                                                                1,086.11            1,086.11
                                                                                                1,328.60            1,125.35




                                                                                                      2662.69           313.92
                                                      08/23    39.24                                  2701.93           353.16
   Total Tax                                 470.88   09/23    39.24                                  2741.17           392.40
                                                      10/23    39.24                                  2780.41           431.64
                                                      11/23    39.24                                  2819.65           470.88
                                                      12/23    39.24                                  2858.89           510.12
   Total Disbursements                       470.88   01/24    39.24    -470.88 County Ta
                                                                                       Taxx           2427.25 (a)        78.48 (b)
                                                 12   02/24    39.24                                  2466.49           117.72
                                                      03/24    39.24                                  2505.73           156.96
   Mortgage Ins. (per payment)                  .00   04/24    39.24                                  2544.97           196.20
                                                      05/24    39.24                                  2584.21           235.44
   Base Escrow Payment (1)                    39.24   06/24    39.24                                  2623.45           274.68
                                                      07/24    39.24                                  2662.69           313.92




   (a) Projected Low-Point:                 2427.25
   (b) Max Allowed Cushion:                   78.48

   Total Escrow Surplus(+)                  2348.77    Total   470.88   -470.88




                         1                                                                                    13133
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                                 8AM-6PM EST Monday-Friday




                                                                                                                                968.59          -1190.68
    11/22          242.16                *                                                                                     1210.75          -1190.68
    12/22          242.16                *                                                                                     1452.91          -1190.68
    01/23          242.16                *              -470.88                       *      County Tax                        1224.19          -1190.68
    02/23          242.16                *                                                                                     1466.35          -1190.68
    03/23          242.16                *                                                                                     1708.51          -1190.68
    04/23          242.16                *                                                                                     1950.67          -1190.68
    05/23          242.16                *                                                                                     2192.83          -1190.68
    06/23          242.16                *                                                                                     2434.99          -1190.68
    07/23          242.16        3853.37 * E                                                 Anticipated
                                                                                             Anticipate d Custome
                                                                                                          Customerr Pmt        2677.15           2662.69 E
    08/23          242.16                *             -2435.00                       *               Damage
                                                                                             Property D  amage In
                                                                                                               Ins.
                                                                                                                  s.            484.31 <         2662.69
    09/23          242.16                *                                                                                      726.47           2662.69
    10/23          242.16                *                                                                                      968.63           2662.69




    Total         2905.92        3853.37               -2905.88

    The last analysis projected the disbursements from your escrow account would be $2,905.88. The Max Allowed Cushion, as indicated with an arrow
    (<), should not have exceeded $484.31. The Max Allowed Cushion is the amount allowed to be retained in the escrow account as allowed by Federal
    law or State law. The actual lowest balance was -$1,190.68. Please see above for reasons the actual lowest balance may be higher or lower than
    the Max Allowed Cushion.


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                         2                                                                                                              13134
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                                   Document      Page 5 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE __________
                                 Northern DISTRICT OF ___________
                                                       Mississippi




                                                    )
 IN RE:                                             )       CHAPTER: ____
                                                                      13
 ____________________________,
  Candias Boyer                Debtor(s)            )       CASE NO: ___________
                                                                     23-10939
                                                    )




                               CERTIFICATE OF SERVICE


          I, ________________________________,
                       Austin Florence         Bankruptcy Coordinator for 21st Mortgage

Corporation, herby certify that on the _____
                                        25th day of ____________________,
                                                    July                  202, a true exact

         Notice of Mortgage Payment Change was served upon the following parties in this
copy of ________________________________

manner:

 SERVICE BY ELECTRONIC MAIL:
 Locke D. Barkley
 6360 I-55 North
 Suite 140
 Jackson, MS 39211

 Robert Hudson Lomenick, Jr.
 P.O. Box 417
 Holly Springs, MS 38635


 SERVICE BY REGULAR MAIL:
 Candias Boyer
 21317 Hwy 5
 Michigan City, MS 38647



                                                        /s/: Austin Florence

                                            21ST MORTGAGE CORPORATION
